Case 6:19-cv-00434-GAP-TBS Document9 Filed 03/22/19 Page 1 of 2 PagelD 30

AFFIDAVIT OF SERVICE

UNITED STATES DISTRICT COURT
MIDDLE District of Florida

Case Number: 6:19-CV-00434-ORL-31-TBS
Plaintiff:

MICHAEL R MCNEIL

vs.

Defendant:

72-74 LAFAYETTE AVENUE REALTY CORP., ET AL

For:

JOE M QUICK, P.A., LAW OFFICES
1224 S PENINSULA DR

#604

DAYTONA BEACH, FL 32118

Received by Jeff Veri on the 12th day of March, 2019 at 11:38 am to be served on COW LICK’S INC C/O ROBERT MILTON NATHAN-
REGISTERED AGENT, 3 WHIPPER-IN CIRCLE, ORMOND BEACH, FL 32174.

|, Jeff Veri, being duly sworn, depose and say that on the 15th day of March, 2019 at 5:45 pm, I:

served a CORPORATION by delivering a true copy of the SUMMONS AND COMPLAINT with the date, my initials and hour of service
endorsed thereon by me, to: ROBERT NATHAN, REGISTERED AGENT for COW LICK'S INC, at the address of: 3 WHIPPER-IN CIRCLE,
ORMOND BEACH, FL 32174, and informed said person of the contents therein, in compliance with state statutes.

In the absence of the president, vice-president, other head of the corporation, cashier, treasurer, secretary,
general manager, director, officer or business agent residing in the state as defined by F.S. 48.081.

For failure of the Registered Agent to be his/her designated place for service pursuant to 48.091 and by
serving the above named person as employee of said corporation at the corporation's place of business.

Description of Person Served: Age: 66, Sex: M, Race/Skin Color: WHITE, Height: 5'8", Weight: 210, Hair: GRAY, Glasses: N
| certify that | am over the age of 18, have no interest in the above action, and am a Process Server, in good standing, in the judicial circuit

in which the process was served. Under penalty of perjury, | declare that | have read the foregoing return of service and that the facts in it
are true. Notary not required pursuant to F.S. 92.525(2)

State of Florida - /) lL Ji kh

 

s Jeff Veri
County of ff. S. Process Sewer
Subscribed and sworn to before me on the 18th day of March,
2019 by the affiant who is personally known to me. MAX J. G , INC.
145 E RICH AV
ey ~ SUITE G
a)
Notary Public Lak Deland, FL 32724
Print Name _ 4-20 $ -“\ Gere Goes < (386) 624-6943

       
    
   

Our Job Serial Number: MJG-2019003147

 
 

a nue LISA M. GARCIA
: MY COMMISSION # GG 122711
é EXPIRES: July 23, 2021 f
“Bonded Thru Notary Public Underwriters |f

  

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AO 440 (Rev 06/12) Surmons ina Civil Achor

UNITED STATES DISTRICT COURT

for the

 

Middle District of Florida

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MICHAEL R. MCNEIL }
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vy, Civil Action No.6:19-cv-00434-ORL-31-TBS
)
72-74 LAFAYETTE AVENUE REALTY CORP., and }
COW LICK’'S, INC., d/b/a COW LICKS INC }
5
Defendants) }

SUMMONS IN A CIVIL ACTION

 

Tot Defendant's name and address: COW LICK'S, INC.
ROBERT MILTON NATHAN - Registered Agent
3 WHIPPER-IN CIRCLE

ORMOND BEACH, FL 32174

A lawsuit has been filed against you.

Within 21 days after service of this summons on you (not counting the day you received it) —~ or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) -ou must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff's attorney.
whose name and address are: JOE M. QUICK, ESQ.

LAW OFFICES OF JOE M. QUICK, ESQ.
4224 S. PENINSULA DRIVE #604
DAYTONA BEACH, FLORIDA 32118
TELEPHONE (386) 212-3591

  

If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file vour answer or motion with the court.

   

CLERK OF COURT

Mar 08, 2019

Date:
